
674 S.E.2d 422 (2009)
Dennis VENTRIGLIA
v.
Renny W. DEESE and Reid, Lewis, Deese, Nance &amp; Person, LLP.
No. 566P08.
Supreme Court of North Carolina.
February 5, 2009.
Charles M. Putterman, Raleigh, for Ventriglia.
Vaiden P. Kendrick, Wilmington, for Deese, et al.
Prior report: ___ N.C.App. ___, 669 S.E.2d 817.

ORDER
Upon consideration of the conditional petition filed on the 9th day of January 2009 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 5th day of February 2009."
